           Case 1:18-vv-00122-UNJ Document 48 Filed 01/17/20 Page 1 of 4




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-0122V
                                         UNPUBLISHED


    HEATHER SNYDER,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: December 13, 2019
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Complex
                                                              Regional Pain Syndrome (CRPS)
                        Respondent.


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Christine Becer, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES 1

       On January 25, 2018, Heather Snyder filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she developed complex regional pain syndrome
(CRPS) in her right shoulder as a result of receiving an influenza vaccination on
October 20, 2016. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

        On February 8, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for CRPS. On December 6, 2019, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded
$115,000.00. Proffer at 1. In the Proffer, Respondent represented that Petitioner


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:18-vv-00122-UNJ Document 48 Filed 01/17/20 Page 2 of 4



agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $115,000.00 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
          Case 1:18-vv-00122-UNJ Document 48 Filed 01/17/20 Page 3 of 4



             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
HEATHER SNYDER,                      )
                                     )
            Petitioner,              )
                                    )   No. 18-122V
      v.                            )   Chief Special Master Corcoran
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 8, 2019, respondent filed a Vaccine Rule 4(c) report concluding that

petitioner suffered an injury that is compensable under the National Childhood Vaccine Injury

Act of 1986, as amended, 42 U.S.C. §§300aa-10 to -34. Accordingly, on February 8, 2019, the

Chief Special Master issued a Ruling on Entitlement, finding that petitioner was entitled to

vaccine compensation for her Chronic Regional Pain Syndrome (“CRPS”).

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$115,000.00 which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C.    § 300aa-15(a). 1 Petitioner agrees.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
          Case 1:18-vv-00122-UNJ Document 48 Filed 01/17/20 Page 4 of 4



II.     Form of the Award

        The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $115,000.00 in the form of a check payable to petitioner.

Petitioner agrees.

        Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                              Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              GABRIELLE M. FIELDING
                                              Assistant Director
                                              Torts Branch, Civil Division


                                                s/Christine Mary Becer
                                              CHRISTINE MARY BECER
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Date:      December 6, 2019




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